Case 3:18-cv-00609-TJC-JBT Document 17 Filed 02/19/19 Page 1 of 2 PageID 66




                   UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF FLORIDA
                      JACKSONVILLE DIVISION


ANNA SIMMONS,

      Plaintiff,

v.                                           Case No. 3:18-cv-609-J-32JBT

AMSHER COLLECTION
SERVICES, INC.,

      Defendant.




                                 ORDER

      Upon review of Joint Stipulation for Final Order of Dismissal With

Prejudice (Doc. 16), filed on February 12, 2019, this case is dismissed with

prejudice. Each party shall bear its own attorneys’ fees and costs. The Clerk

should close the file.

      DONE AND ORDERED in Jacksonville, Florida this 19th day of

February, 2019.




                                               TIMOTHY J. CORRIGAN
                                               United States District Judge

sej
Copies:
Case 3:18-cv-00609-TJC-JBT Document 17 Filed 02/19/19 Page 2 of 2 PageID 67




Counsel of record




                                    2
